Case 3:13-cv-05013-M-BH Document 167 Filed 08/07/17 Page1of2 PagelD 2015

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

JANE DOE, Individually, and on behalf of a

themselves and all others similarly situated
individuals, TOBY CROSS, Individually
and on behalf of a themselves and all others
similarly situated individuals, and
ARTHUR LOPEZ,

Plaintiffs,

¥v.

COMPACT INFORMATION SYSTEMS,
INC., a Washington Corporation, DATA
SOLUTIONS, OF AMERICA, INC,, a
Florida Corporation, ELIZABETH M.
BLANK, a Florida Individual,
ENDURANCE WARRANTY SERVICES,
a Illinois Corporation, KMB STATISTICS,
LLC, a Florida Corporation, and DOE
INDIVIDUALS AND CORPORATIONS
1-100 INCLUSIVE,

Defendanis.

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Civil Action No. 3:13-CV-5013-M

ORDER ACCEPTING FINDINGS AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE JUDGE

After reviewing the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge for plain error, I am of the opinion that the Findings and Conclusions of the

Magistrate Judge are correct and they are accepted as the Findings and Conclusions of the Court.

KMB Statistics, LLC’s defenses are hereby stricken, and the Court finds it fo be in default.

The plaintiffs are entitled to move for default judgment and shall do so within thirty days of the

date of this order.

 
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SO ORDERED this day of August, 2017.

 

 
